        Case 1:24-cv-10049-LJL               Document 403            Filed 07/09/25    Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                     7/9/2025
                                                                       :
BLAKE LIVELY,                                                          :
                                                                       :
                                    Plaintiff,                         :              24-cv-10049
                                                                       :
                  -v-                                                  :               ORDER
                                                                       :
WAYFARER STUDIOS LLC, JUSTIN BALDONI,                                  :
JAMEY HEATH, STEVE SAROWITZ, IT ENDS WITH :
US MOVIE LLC, MELISSA NATHAN, THE AGENCY :
GROUP PR LLC, JENNIFER ABEL, JED WALLACE, :
STREET RELATIONS INC.,                                                 :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X
                                                                       :
WAYFARER STUDIOS LLC, JUSTIN BALDONI,                                  :
JAMEY HEATH, IT ENDS WITH US MOVIE LLC,                                :
MELISSA NATHAN, JENNIFER ABEL, STEVE                                   :
SAROWITZ,                                                              :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                        -v-                                            :
                                                                       :
BLAKE LIVELY, RYAN REYNOLDS, LESLIE                                    :
SLOANE, VISION PR, INC., THE NEW YORK TIMES :
COMPANY,                                                               :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X
LEWIS J. LIMAN, United States District Judge:

        Blake Lively (“Lively”), Stephanie Jones (“Jones”), and Jonesworks LLC

(“Jonesworks”) move to amend the Case Management Plan and Scheduling Order. Dkt. No.
       Case 1:24-cv-10049-LJL          Document 403        Filed 07/09/25       Page 2 of 3




386. 1 The Wayfarer Parties oppose the motion in part. Dkt. No. 394. 2 The parties agree on an

extension for depositions. The principal difference between the parties appears to relate to the

timing of document production. The Wayfarer Parties object to what they characterize as an

“extension” of document production. Dkt. No. 394. The request of Lively, Jones, and

Jonesworks could be read to extend document production, including the service of new

document requests, into August 2025. However, a letter filed by Lively on July 9, 2025, states

that “Ms. Lively seeks to require all parties to complete document productions by July 25.” Dkt.

No. 398. This accords with the apparent goal of the parties that all deficiencies with respect to

document production be identified by August 1, 2025, and be resolved shortly thereafter so that

depositions can be completed on time by September 30, 2025.

       The parties shall show cause by 5:00 p.m. on July 11, 2025, why the Court should not

issue an order as follows:

       All document production by parties and nonparties shall be completed by July 25, 2025.

(Third-party subpoenas shall require production no later than July 25, 2025.)

       Motions to compel regarding document production shall be filed by no later than August

1, 2025.

       Depositions shall be completed by September 30, 2025. All fact discovery shall be

completed by September 30, 2025.




1
  Jones and Jonesworks are third-party defendants in 24-cv-10049 and Plaintiffs in the related
case 25-cv-779, in which they have also moved to amend the Case Management Plan and
Scheduling Order.
2
  The Wayfarer Parties are Wayfarer Studios LLC, Justin Baldoni, Jamey Heath, Steve Sarowitz,
It Ends With Us Movie LLC, Melissa Nathan, The Agency Group PR LLC (“TAG”), and
Jennifer Abel.


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      Case 1:24-cv-10049-LJL   Document 403     Filed 07/09/25   Page 3 of 3




      SO ORDERED.

Dated: July 9, 2025                       __________________________________
       New York, New York                            LEWIS J. LIMAN
                                                 United States District Judge




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